728 F.2d 159
    5 Employee Benefits Ca 1121
    Paul P. SWAIDA, Jr., individually and on behalf of allothers similarly situated, Plaintiff-Appellant,v.IBM RETIREMENT PLAN, Retirement Plan Committee of the IBMRetirement Plan, Plan Administrator of the IBM RetirementPlan, Board of Directors of International Business Machines(IBM) Corporation, IBM Vice-President Responsible forFinance, and IBM Vice-President Responsible for Personnel,Defendants-Appellees.
    No. 568, Docket 83-7792.
    United States Court of Appeals,Second Circuit.
    Argued Jan. 23, 1984.Decided Feb. 22, 1984.
    
      David S. Preminger, Braverman &amp; Rosen, New York City, Karen W. Ferguson, Pension Rights Center, Stephen R. Bruce, Washington, D.C., for plaintiff-appellant.
      John M. Vine, Joanne B. Grossman, Covington &amp; Burling, Washington, D.C., Richard J. Sweetnam, IBM Corp., Armonk, N.Y., for defendants-appellees.
      Glenn L. Archer, Jr., Asst. Atty. Gen., Michael L. Paup, William S. Estabrook, Michael J. Roach, Tax Div., Dept. of Justice, Washington, D.C., Rudolph W. Giuliani, U.S. Atty., S.D.N.Y., New York City, for amicus curiae U.S.
      Before MESKILL, KEARSE and PRATT, Circuit Judges.
      PER CURIAM:
    
    
      1
      This is an appeal from a judgment of the United States District Court for the Southern District of New York, Weinfeld, J., Swaida v. IBM Retirement Plan, 570 F.Supp. 482 (S.D.N.Y.1983), granting defendant's motion for summary judgment.  The district court held that the elapsed time regulations promulgated by the Department of the Treasury were within its competence and in the exercise of delegated authority and that IBM, having structured its pension plan in conformity therewith, acted justifiably when it denied plaintiff's claim to a vested pension.
    
    
      2
      We affirm the judgment of the district court for the reasons spelled out by Judge Weinfeld in his opinion below, Swaida v. IBM Retirement Plan, 570 F.Supp. 482 (S.D.N.Y.1983).
    
    